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                      EXHIBIT Q
          Case
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         UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA

United States ofAmerica                       )
                                              )
    V.                                        )        USDC No. 21-mj-411 (ZMF)
                                              )
Daniel Lyons Scott, defendant.                )

                                             ORDER

         Upon good cause shown in Defendant's Unopposed Motion for Bond Review and based

on the lack of opposition from the United States or the Pretrial Services Agency as well as the

most recent Pretrial Compliance Report (ECF No. 13) which indicates that Defendant is in

compliance with his release conditions, it is hereby

         ORDERED, that Defendant's release condition of home detention is hereby VACATED,

and it is further

         ORDERED, that Defendant must observe a curfew and remain at his residence during the

hours of 10 o'clock p.m. until 6 o'clock a.m. daily. In other words, Defendant's Order Setting

Conditions of Release (ECF No. 12) is modified such that the check mark next to condition 7(p)

(ii) is removed, and a check mark is added next to condition 7(p)(i). All other conditions of

Defendant's release remain the same.
                                                                                Robin M. Meriweather
                                                                                2021.07.13 16:12:51
                                                                                -04'00'
                                                    Robin M. Meriweather,
                                                    U.S. Magistrate Judge
                                                    U.S. District Court for the District of Columbia
cc: Nathan I. Silver, Esq.
  6300 Orchid Drive
  Bethesda, MD 20817-5614
  By ECF
  William K. Dreher, Esq.
  U.S. Attorney's Office for the Western District of Washington
  700 Stewart Street - Suite 5220
  Seattle, Washington 98101
  By ECF
